Case 04-12285-DWH   Doc 4   Filed 04/28/04 Entered 04/28/04 14:33:51   Desc Main
                            Document     Page 1 of 4
Case 04-12285-DWH   Doc 4   Filed 04/28/04 Entered 04/28/04 14:33:51   Desc Main
                            Document     Page 2 of 4
Case 04-12285-DWH   Doc 4   Filed 04/28/04 Entered 04/28/04 14:33:51   Desc Main
                            Document     Page 3 of 4
Case 04-12285-DWH   Doc 4   Filed 04/28/04 Entered 04/28/04 14:33:51   Desc Main
                            Document     Page 4 of 4
